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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                                 www.flsb.uscourts.gov

In re:                                                   Chapter 11

MIDTOWN CAMPUS PROPERTIES, LLC,                          Case No. 20-15173-RAM

            Debtor.
___________________________________/

 SUMMARY OF SECOND INTERIM FEE APPLICATION FOR ALLOWANCE AND
  PAYMENT OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
 FIRM OF GARCIA, ESPINOSA, MIYARES, RODRIGUEZ, TRUEBA & COMPANY,
     LLP AS FINANCIAL ACCOUNTANTS FOR THE CHAPTER 11 DEBTOR

   1. Name of Applicant:                        GEMRT, LLP

   2. Role of Applicant:                        Financial Accountants for the Chapter 11
                                                Debtor

   3. Name of Certifying Professional:          Rafael A. Espinosa, CPA

   4. Date Case Filed:                          May 8, 2020

   5. Date of Retention Order:                  Interim Order approving retention
                                                entered on May 26, 2020 [ECF No. 43].
                                                Final Order approving retention entered
                                                on June 17, 2020 [ECF No. 85]

   6. Period for this Application:              January 1, 2021 through November 29, 2021

   7. Amount of Compensation Sought:            $ 42,659.70
                                                (plus holdbacks of $4,997.85 from the First
                                                Interim Fee Application )


   8. Amount of Expense Reimbursement:          $ 0.00

   9. Total Amount of Compensation Sought
      During Case                               $ 67,648.95

   10. Total Amount of Expense Reimbursement
       Sought During Case                       $ 0.00

   11. Amount of Original Retainer:             $ 0.00
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    12. Current Balance of Retainer Remaining:             $ 0.00

    13. Last monthly operating report filed:               September 30, 2021 ECF No. 505

    14. If case is Chapter 11, Current funds in
        Chapter 11 estate:                                 $3,275,283.001

    15. If case is Chapter 7, current funds held           N/A
        by Chapter 7 trustee:




1 Ending Balance as of September 30, 2021, pursuant to the Debtor’s Standard Monthly Operating Report filed on
October 22, 2021 [ECF No. 505].

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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

In re:                                                      Chapter 11

MIDTOWN CAMPUS PROPERTIES, LLC,                             Case No. 20-15173-RAM

            Debtor.
___________________________________/

   SECOND AND FINAL APPLICATION FOR ALLOWANCE AND PAYMENT OF
  COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE FIRM OF
  GARCIA, ESPINOSA, MIYARES, RODRIGUEZ, TRUEBA & COMPANY, LLP. AS
        FINANCIAL ACCOUNTANTS FOR THE CHAPTER 11 DEBTOR

         GARCIA, ESPINOSA, MIYARES, RODRIGUEZ, TRUEBA & COMPANY, LLP

(“Applicant” or “GEMRTC”), as financial accountants for Midtown Campus Properties, LLC (the

“Debtor”), seeks approval and allowance of its fees and costs incurred during the period from

January 1, 2021 through November 29, 2021 (the “Application Period”) pursuant to 11 U.S.C. §

330 and Rule 2016, Federal Rule of Bankruptcy Procedure, and the requirements set forth in the

Guidelines incorporated in Local Rule 2016-1(B). The exhibits attached to this Application,

pursuant to the Guidelines, are:

         Exhibit “1” - Summary of Professional and Paraprofessional Time.

         Exhibit "3" - GEMRTC’s complete time records for the time period covered by this
                       Application.

   I.       RETENTION OF APPLICANT, DISCLOSURE OF COMPENSATION AND
            REQUESTED AWARD

         By Final Order entered on October 2, 2020, the Court authorized the Debtor’s retention of

GEMRTC as financial accountants. GEMRTC’s compensation is conditioned on approval by this

Court. Accordingly, GEMRTC submits this Application for a final award of professional fees and

expenses incurred during the Application Period. GEMRTC seeks hereunder a final award of



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$42,659.70 in fees. The Applicant also requests authority for payment of $4,997.85 in holdbacks

approved by the Court in the First Interim Fee Application [ECF No. 328]. Additionally, Applicant

requests the authority to draw down the sum of $40,800.00 remaining in the GJB Escrow

earmarked for Applicant.2 GEMRTC submits that the requested fee in the amount of $42,659.70

for 195 hours worked is reasonable considering the twelve factors enumerated in Johnson v.

Georgia Highway Express, Inc., 488 F.2d 714 (5th Circuit 1974), made applicable to bankruptcy

proceedings by In re First Colonial Corp. of America, 554 F.2d 1291 (5th Circuit 1977).

I.      BACKGROUND

        1.       On May 8, 2020 (the “Petition Date”), the Debtor filed a voluntary petition in this

Court for relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

        2.       As of the date hereof, no creditors’ committee has been appointed in this case. In

addition, no trustee or examiner has been appointed.

        3.       The Debtor is operating its business and managing its affairs as a debtor in

possession pursuant to 11 U.S.C. §§1107(a) and 1108.

        4.       For a detailed description of the Debtor, its operations and assets and liabilities, the

Debtor respectfully refers the Court and parties-in-interest to the First Day Declaration [ECF No.

15].

        5.       Since January 2016, GEMRTC has been the Debtor’s outside certified public

accounting firm, assisting the Debtor with its internal accounting, consultation of business matters

and preparation of corporate tax returns.


2 Pursuant to that certain Interim and Final Orders of the Court [ECF Nos. 47, 88, 120, 171, 230, 247 and 264], the
Debtor borrowed an aggregate amount of up to $5,200,000 from BMI Financial Group, Inc. for the period May through
September 2020 (the “Original DIP Loan”). In connection with the Original DIP Loan, a total of $939,445 (the “DIP
Professional Escrow Fund”) was funded into GJB’s trust account for payment of professionals fees and costs, of which
$60,000 was earmarked for GEMRTC. After payment of the Interim Fee Award there remains a balance of $40,008
in the GJB Escrow available for payment the fees awarded to GEMRTC.



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   II.        DESCRIPTION AND SUMMARY OF SERVICES PERFORMED

         During the Application Period, GEMRTC performed a multitude of accounting services

which were necessary to effectively represent the Debtor in this case, and which provided benefit

to the Debtor. The specific services rendered by GEMRTC during the Application Period are

detailed in the firm’s billing records attached hereto as Exhibit “3”, and consists of assisting the

company with the review, analysis and update of its internal accounting records, the preparation

of reports needed with the preparation and filing of its monthly debtor in possession reports and

preparation of its corporate tax returns.


  VI. EVALUATION OF SERVICES RENDERED:
      FIRST COLONIAL CONSIDERATIONS

         This Application presents the nature and extent of the professional services rendered by the

Applicant in connection with its representation of the Debtor. A mere reading of the time summary

annexed hereto cannot completely reflect the full range of services the Applicant rendered and the

complexity of the issues and the pressures of time and performance which have been placed on the

Applicant in connection with this case.

         American Benefit Life Ins. Co. v. Baddock (In re First Colonial Corp.), 544 F.2d 1291 (5th

Cir.), cert. denied, 431 U.S. 904 (1977), enumerates twelve factors a bankruptcy court should

evaluate in awarding fees. First Colonial remains applicable in the Eleventh Circuit to the

determination of reasonableness of fees to be awarded under the Bankruptcy Code. Grant v.

George Schuman Tire & Battery Company, 908 F.2d 874 (11th Cir. 1990); 2 Collier on

Bankruptcy ¶ 330.05[2][a] at 330-33 through 330-37 (L. King 15th ed. 1991); See also Bonner v.

City of Prichard, 661 F.2d 1206, 1209 (11th Cir. 1981). First Colonial, 544 F.2d at 1298-99.

         Based on the standards set forth in section 330 of the Bankruptcy Code and First Colonial,

the Applicant believes that the fair and reasonable value of its services rendered during the period


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covered by this Application is in the amount of $42,659.70.

       A.      Time, Nature and Extent of Services Rendered, Results Obtained and Related
               First Colonial Factors.

       The foregoing summary, together with the exhibits attached hereto, details the time, nature

and extent of the professional services the Applicant rendered for the benefit of the Debtor during

the period covered by this Application. The total number of hours expended (195) reveals the

extensive time devoted to these matters by the Applicant. The average hourly rate for the

Applicant during the period covered by this Application is approximately $219.00.

       B.     Novelty and Difficulty of Questions Presented.

       This case presents certain novel and difficult issues that exceed a typical bankruptcy

proceeding.

       C.       Skill Requisite to Perform Services Properly.

       In rendering services to the Debtor, Applicant demonstrated substantial skills and expertise

in the area of consulting and expert services.

       D.      Preclusion from Other Employment Due to Acceptance of Case.

       The Applicant's representation in this case did not preclude it from accepting other

employment.

       E.     Customary Fee.

       The hourly rates of the Applicant set forth in the attached exhibits reflect the hourly rates

the Applicant bills to its clients in other similar bankruptcy cases. This Court has approved these

rates, as have other courts within and outside of this district, in other bankruptcy matters in which

the Applicant and other counsel of like reputation and experience have been involved.

       F.     Whether Fee is Fixed or Contingent.

       The Applicant's compensation in this matter is subject to approval of the Court and



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therefore contingent. The Court should consider this factor, which militates in favor of a fee in

the amount requested. The amount requested is consistent with the fee which the Applicant would

charge its clients in other non-contingent, bankruptcy cases.

       G.      Time Limitations Imposed by Client or Other Circumstances.

       The circumstances of this case periodically imposed time constraints on the Applicant due

to the necessity for rapid resolution of significant issues.

       H.    Experience, Reputation and Ability of Attorneys.

       GEMRTC are experienced in matters of this kind and are well known in this Court.

       I.   "Undesirability" of Case.

       This case was not undesirable. The Applicant is privileged to have the opportunity to

represent the Debtor and appear before the Court in this proceeding.

       J. Awards in Similar Cases.

       The amount requested by the Applicant is reasonable in terms of awards in cases of similar

magnitude and complexity. The compensation which the Applicant requests comports with the

mandate of the Bankruptcy Code, which directs that services be evaluated in light of comparable

services performed in non-bankruptcy cases in the community. The fees requested by the

Applicant reflect an average hourly rate of approximately $219.00. Considering the results

obtained in light of the contingent nature of the Applicant's employment, the infrequency of

payment and the complexity of the issues addressed during the periods covered by this Application,

this rate is entirely appropriate. Likewise, as with all law firms, the Applicant's overhead expenses

are absorbed in the hourly rate. A large portion of any fee which the Court awards the Applicant

will merely defray such significant overhead expenses already incurred and paid during the

pendency of this case.

VII.   CONCLUSION


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       GEMRTC provided valuable services to the Debtor in this case. For this reason and all of

the reasons set forth in this Application, GEMRTC seeks (i) an interim award of $42,659.70 in

fees for services rendered during the Application Period.

       WHEREFORE, the Applicant, GEMRTC respectfully requests the entry of an Order (i)

awarding the Applicant fees in the amount of $42,659.70 during the Application Period on a final

basis; (ii) approving holdbacks in the amount $4,997.85 from the First Interim Fee Application;

(iii) authorizing Applicant to draw down the sum of $40,008.00 remaining in the GJB Escrow

earmarked for Applicant and (iv) granting such other and further relief as the Court deems

appropriate.

       Respectfully submitted this 29 day of November, 2021.


                                             Respectfully Submitted,

                                             GARCIA, ESPINOSA, MIYARES,
                                             RODRIGUEZ, TRUEBA & COMPANY, LLP
                                             Financial Accountants for Debtor-in-Possession
                                             2600 Douglas Road, Suite 800
                                             Coral Gables, FL 33134
                                             Telephone: (305) 529-5440
                                             Facsimile: (305) 529-5441

                                             By:    /s/    Rafael A. Espinosa
                                                    Rafael A. Espinosa, CPA
                                                    Florida No. 884162
                                                    respinosa@gemrtcpa.com




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                    Summary of Professional and Paraprofessional Time
                        Total per Individual for this Period Only
                                      (EXHIBIT 1)

[If this is a final application, and does not cumulate fee details from prior interim applications,
then a separate Exhibit 1-A showing cumulative time summary from all applications is attached as
well]

 Name                Partner,                Year         Total      Average          Fee
                     Associate or            Licensed     Hours      Hourly Rate
                     Paraprofessional
 Rafael A. Espinosa  Partner                 1992            25.16 $365.06            $9,185.05
 Juan C. Mederos     Associate               2005           151.84 $210.38            $31,943.80
 Lucy Lou            Associate               1999             1.75 $185.00            $323.75
 Alejandro Rodriguez Associate               N/A             14.00  $76.88            $1,076.25
 Lendy Pacho         Administrative          N/A               .15  $75.00            $11.25
 Mayte Mera          Administrative          N/A               .40  $61.88            $24.75
 Odalys Diaz         Administrative          N/A              1.44  $65.87            $94.85
 TOTAL                                                      194.74                    $42,659.70

Blended Average Hourly Rate:          $219.00

Total Fees:                           $42,659.70




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                       Summary of Requested Reimbursement Of Expenses
                                      for this Time Period Only
                                             (EXHIBIT 2)
[If this is a final application which does not cumulate prior interim applications, a separate
summary showing cumulative expenses for all applications is attached as well]
                                              N/A - None




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                                          EXHIBIT “3”
 [The applicant's complete time records, in chronological order, by activity code category, for the
time period covered by this application.]




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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    51531
Date           01/31/2021
Client No.     8517

For Professional Services Rendered Through January 31, 2021

Current

Update of internal accounting including:

−   Preparation of December 2020 bank reconciliations

−   Analysis of corporate year end performance and tax planning

−   Preparation and organization of documents needed for monthly
    Debtor in Possession operating report                                                                    $    1,844.40

Preparation of court filings.                                                                                      183.45

Meeting on January 15, 2021 to discuss status of litigation, corporate
tax planning and reporting requirements                                                                            905.00

Telephone call regarding accounting services provided by management
company.                                                                                                           118.90

                                                                                 Current Amount Due          $    3,051.75

                                                                                           Prior Balance         24,989.25

                                                                                    Total Amount Due         $   28,041.00


              0 - 30              31- 60                61 - 90               91 - 120           Over 120         Balance
           3,051.75             1,633.90              2,011.10                3,426.45           17,917.80       28,041.00
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit your
questions in writing within 30 days. Otherwise, this statement is final.

Please make your check payable to Garcia, Espinosa, Miyares, Rodriguez, Trueba & Company, LLP. We also
accept all major credit cards. To process your credit card payment, please call Lendy Pacho at (305)
529-5440.

                                Thank you for allowing us this opportunity to serve you.

                           CERTIFIED PUBLIC ACCOUNTANTS AND CONSULTANTS
                                           2600 Douglas Road, Suite 800 Coral Gables, FL 33134
                                      PHONE 305 529 5440 / FAX 305 529 5441 / www.gemrtcpa.com
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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                 Midtown Campus Properties, LLC
Client Ledger                                                                                                                    Client 8517.0
Primary Partner - Client Code
For the Period: 1/1/2021 - 1/31/2021



                                                                                                                                    Billing
        Posting Date        Employee                                                  Description                                   Code               Hours      Amount


         1/14/2021          Rafael Espinosa         WIP: Partner Time                                                                         10           0.33     115.50
                                                    Phone call with Juan Mederos to discuss new financial reporting
                                                    requirements and status of operations.


         1/15/2021          Rafael Espinosa         WIP: Partner Time                                                                         10           2.00     700.00
                                                    Client meeting to discuss status of litigation, corporate tax planning
                                                    and company reporting requirements


         1/16/2021          Rafael Espinosa         WIP: Partner Time                                                                         10           0.50     175.00
                                                    Review December 2020 MOR Report, discuss with Juan Mederos


                                                    Subtotals - Rafael Espinosa                                                                            2.83     990.50


         1/13/2021            Juan Mederos          WIP: Telephone call with client                                                        213             0.33      67.65
                                                    Phone call with Oscar Jr, discuss management company accounting
                                                    and reporting


         1/13/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                      250             0.84     172.20
                                                    Preparation of documents supporting monthly invoice billings
                                                    in accordance with fee application requirements, prepare and
                                                    submit documents to attorneys for upcoming fee hearing


         1/14/2021            Juan Mederos          WIP: Consulting services                                                               500             0.33      67.65
                                                    Phone call withRalph Espinosa, dicuss company financial reporting
                                                    requirements and operations overall


         1/15/2021            Juan Mederos          WIP: Consulting services                                                               500             8.00   1,640.00
                                                    Obtain and restore Quickbooks backup, review internal accounting
                                                    12/31/2020, reconcile US Bank account, record adjustments, prepare
                                                    documents needed for MOR report, upload to Dropbox, participate
                                                    in joint meeting to discuss operations and reporting requirements


         1/16/2021            Juan Mederos          WIP: Consulting services                                                               500             0.25      51.25
                                                    Meet with Ralph, discuss December 2020 MOR report


         1/20/2021            Juan Mederos          WIP: Telephone call with client                                                        213             0.25      51.25
                                                    Phone call with Oscar Jr, discuss issue of held checks and
                                                    creation of a held check log to assist with future bank reconciliations
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                                             Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                        Midtown Campus Properties, LLC
Client Ledger                                                                                                          Client 8517.0
Primary Partner - Client Code
For the Period: 1/1/2021 - 1/31/2021



                                                                                                                          Billing
        Posting Date        Employee                                                 Description                          Code               Hours      Amount



                                                   Subtotals - Juan Mederos                                                                     10.00   2,050.00


         1/13/2021             Lendy Pacho         WIP: Manager/Supervisor Billing                                               250             0.15      11.25
                                                   Preparation of December 2020 billing


                                                   Subtotals - Lendy Pacho                                                                       0.15      11.25


                                                   Totals - All                                                                                 12.98   3,051.75
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    52253
Date           02/28/2021
Client No.     8517

For Professional Services Rendered Through February 28, 2021

Current

Update of internal accounting including:

- Preparation of January 2021 bank reconciliations

- Preparation and organization of documents needed for monthly
  Debtor in Possession operating report                                                                  $    1,622.35

Conference call on March 18, 2021 with attorneys and company to
iscuss work to perform and documents to prepare concerning
Sauer Construction.                                                                                            693.75

Meetings on February 22, 2021 and February 26, 2021 to review, analyze
and obtain information regarding construction issues concerning Sauer pay
applications construction cost overruns charged and incurred.                                                 3,177.50

Researching and preparing analytical schedules detailing cost overcharges
by Sauer Construction by line item and cost overruns incurred.                                                2,920.15
                                                                                                         ____________

                                                                                  Current Amount Due     $    8,413.75

                                                                                       Prior Balance          8,049.60

                                                                                Total Amount Due         $   16,463.35


              0 - 30          31- 60                61 - 90                91 - 120           Over 120         Balance
           8,413.75         3,051.75              1,633.90                 2,011.10           1,352.85        16,463.35
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit
your questions in writing within 30 days. Otherwise, this statement is final.

Please make your check payable to Garcia, Espinosa, Miyares, Rodriguez, Trueba & Company, LLP. We
also accept all major credit cards. To process your credit card payment, please call Lendy Pacho at (305)
529-5440.

                            Thank you for allowing us this opportunity to serve you.

                          CERTIFIED PUBLIC ACCOUNTANTS AND CONSULTANTS
                                       2600 Douglas Road, Suite 800 Coral Gables, FL 33134
                                  PHONE 305 529 5440 / FAX 305 529 5441 / www.gemrtcpa.com
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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                               Midtown Campus Properties, LLC
Client Ledger                                                                                                                  Client 8517.0
Primary Partner - Client Code
For the Period: 2/1/2021 - 2/28/2021



                                                                                                                                  Billing
        Posting Date        Employee                                                  Description                                 Code               Hours      Amount


          2/8/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.50     175.00
                                                    Meeting with Juan Mederos to discuss status of operations
                                                    for January 2021


         2/16/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.50     175.00
                                                    Review January 2021 MOR Report, discuss with Juan Mederos


         2/18/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           1.25     437.50
                                                    Conference call with attorneys and Oscar Roger to discuss
                                                    cost analysis and information to gather regarding Sauer Construction


         2/27/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           2.00     700.00
                                                    Meeting with Juan Mederos to review and discuss cost overrun
                                                    analysis


                                                    Subtotals - Rafael Espinosa                                                                          4.25   1,487.50


          2/8/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                    250             0.83     170.15
                                                    Preparation of documents supporting monthly invoice billings
                                                    in accordance with fee application requirements


          2/8/2021            Juan Mederos          WIP: Consulting services                                                             500             0.17      34.85
                                                    Meet with Ralph, discuss January 2021 operations


         2/12/2021            Juan Mederos          WIP: Consulting services                                                             500             5.00   1,025.00
                                                    Visit client, review internal accounting and update, correct expenses
                                                    for rental operations, prepare and upload documents needed for
                                                    January 2021 reports


         2/16/2021            Juan Mederos          WIP: Consulting services                                                             500             0.17      34.85
                                                    Meet with Ralph, discuss January 2021 MOR report


         2/18/2021            Juan Mederos          WIP: Telephone call with client                                                      213             1.25     256.25
                                                    Participate in conference call with attorneys, Oscar Roger, discuss
                                                    work to perform with Ralph, setup meeting, call Yudith and instruct on
                                                    documents needed


         2/18/2021            Juan Mederos          WIP: Telephone call with client                                                      213             0.58     118.90
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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                Midtown Campus Properties, LLC
Client Ledger                                                                                                                   Client 8517.0
Primary Partner - Client Code
For the Period: 2/1/2021 - 2/28/2021



                                                                                                                                   Billing
        Posting Date        Employee                                                  Description                                  Code               Hours      Amount


                                                    Phone call with Lyanne, discuss calculations of Sauer project
                                                    performed and information to research


         2/22/2021            Juan Mederos          WIP: Consulting services                                                              500             8.50   1,742.50
                                                    Visit company offices, meet with Oscar Roger, preparing analysis of
                                                    Pay App #30 of Sauer Construction documenting cost overruns
                                                    prepare analysis of monthly Sauer billings to Midtown, research and
                                                    tie monthly payments made to Sauer to pay applications


         2/26/2021            Juan Mederos          WIP: Consulting services                                                              500             7.00   1,435.00
                                                    Visit client, meet with Oscar Roger, review, analyze and document
                                                    construction issues with Sauer Construction pay applications and
                                                    construction work performed


         2/27/2021            Juan Mederos          WIP: Consulting services                                                              500             6.00   1,230.00
                                                    Begin preparation of analytical reports listing cost overcharges by
                                                    Sauer Construction and preparation of line item contract scope items
                                                    overcharged by Sauer Construction, meet and discuss info with
                                                    Ralph Espinosa


         2/27/2021            Juan Mederos          WIP: Consulting services                                                              500             4.25     871.25
                                                    Continue work on Sauer Construction cost overcharges, analyzing
                                                    cash flow, researching Quickbooks


                                                    Subtotals - Juan Mederos                                                                             33.58   6,918.75


          2/9/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                       250             0.15       7.50
                                                    Preparation of January 2021 billing


                                                    Subtotals - Odalys Diaz                                                                               0.15       7.50


                                                    Totals - All                                                                                         37.98   8,413.75
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.     52607
Date            03/31/2021
Client No.      8517

For Professional Services Rendered Through March 31, 2021

Current

Update of internal accounting including:

- Preparation of January 2021 bank reconciliations

- Preparation and organization of documents needed for monthly
  Debtor in Possession operating report                                                                          $    1,405.00

Preparation of costs analysis reports concerning Sauer pay applications                                               4,315.80
cost overruns charged and incurred.

Client meeting on March 4, 2021 to go over cost overruns calculated
and damages reports prepared.                                                                                         1,571.25

Zoom conference call on March 8, 2021 with attorneys and company to
discuss work to perform and documents prepared concerning Sauer
Construction cost overruns.                                                                                           1,197.50

Preparation of court filings                                                                                            321.00

Conference calls with company and attorneys to discuss damages
calculations and status of case                                                                                         565.15
                                                                                                             ____________

                                                                                 Current Amount Due          $        9,375.70

                                                                                           Prior Balance             16,463.35

                                                                                    Total Amount Due         $       25,839.05


               0 - 30             31- 60                61 - 90               91 - 120            Over 120            Balance
            9,375.70            8,413.75              3,051.75                1,633.90            3,363.95           25,839.05
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit your
questions in writing within 30 days. Otherwise, this statement is final.

Please make your check payable to Garcia, Espinosa, Miyares, Rodriguez, Trueba & Company, LLP. We also
accept all major credit cards. To process your credit card payment, please call Lendy Pacho at (305)
529-5440.

                                 Thank you for allowing us this opportunity to serve you.

                               CERTIFIED PUBLIC ACCOUNTANTS AND CONSULTANTS
                                           2600 Douglas Road, Suite 800 Coral Gables, FL 33134
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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                               Midtown Campus Properties, LLC
Client Ledger                                                                                                                  Client 8517.0
Primary Partner - Client Code
For the Period: 3/1/2021 - 3/31/2021



                                                                                                                                  Billing
        Posting Date        Employee                                                 Description                                  Code               Hours      Amount


          3/2/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.50     175.00
                                                    Meeting with Juan Mederos to review and discuss Sauer
                                                    costs overruns analysis


          3/2/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.25      87.50
                                                    Phone call with Oscar Roger


          3/2/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           1.00     350.00
                                                    Meet with Juan Mederos to discuss and review Sauer cost overrun
                                                    analysis reports prepared


          3/3/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.75     262.50
                                                    Meet with Juan Mederos and discuss Sauer cost overrun analysis


          3/4/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           2.00     700.00
                                                    Meet with Juan Mederos to review Sauer cost overrun analysis
                                                    reports prepared, make revisions to analysis


          3/8/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.25      87.50
                                                    Prepare for Zoom conference meeting regarding Midtown


          3/8/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           2.00     700.00
                                                    Attend Zoon conference call meeting to discuss Midtown Campus
                                                    bankruptcy


         3/17/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.50     175.00
                                                    Review February 2021 MOR report


                                                    Subtotals - Rafael Espinosa                                                                          7.25   2,537.50


          3/3/2021      Alejandro Rodriguez         WIP: Consulting services                                                             500             5.25     393.75
                                                    Review Quickbooks accounting files to perform search for
                                                    subcontractor payments in line wth list of subcontractors provided


         3/12/2021      Alejandro Rodriguez         WIP: Consulting services                                                             500             3.50     262.50
                                                    Work on updating Sauer historical payment applciation billings
                                                    and payments issued schedule
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                                             Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                              Midtown Campus Properties, LLC
Client Ledger                                                                                                                Client 8517.0
Primary Partner - Client Code
For the Period: 3/1/2021 - 3/31/2021



                                                                                                                                Billing
        Posting Date        Employee                                                Description                                 Code               Hours      Amount


                                                   Subtotals - Alejandro Rodriguez                                                                     8.75     656.25


          3/2/2021            Juan Mederos         WIP: Consulting services                                                            500             1.00     205.00
                                                   Meeting with Ralph Espinosa to go over work product of Sauer
                                                   cost overrun analysis


          3/2/2021            Juan Mederos         WIP: Consulting services                                                            500             1.51     309.55
                                                   Work on resolving issues with Sauer pay applications to reconcile


          3/2/2021            Juan Mederos         WIP: Consulting services                                                            500             2.00     410.00
                                                   Prepare PDF schedules of Sauier work product, prepare schedule
                                                   of cost overrun analysis


          3/3/2021            Juan Mederos         WIP: Consulting services                                                            500             0.75     153.75
                                                   Meet with Ralph Espinosa and discuss Sauer cost overrun analysis


          3/3/2021            Juan Mederos         WIP: Consulting services                                                            500             4.00     820.00
                                                   Speak with Marialena regarding analysis performed, instruct Alex
                                                   on information, update reports


          3/4/2021            Juan Mederos         WIP: Consulting services                                                            500             0.50     102.50
                                                   Prepare reports for upcoming meeting to discuss Suar cost
                                                   overruns and analysis


          3/4/2021            Juan Mederos         WIP: Consulting services                                                            500             4.25     871.25
                                                   Meeting with Oscar Sr. and Oscar Jr., go over analytical spreadsheets
                                                   documenting cost overruns of Saur on Midtown project


          3/8/2021            Juan Mederos         WIP: Manager / Supervisor Billing                                                   250             1.50     307.50
                                                   Preparation of documents supporting monthly invoice billings
                                                   in accordance with fee application requirements


          3/8/2021            Juan Mederos         WIP: Consulting services                                                            500             2.00     410.00
                                                   Attend Zoom conference call meeting to discuss Midtown Campus
                                                   bankruptcy


         3/12/2021            Juan Mederos         WIP: Consulting services                                                            500             0.25      51.25
                                                   Work with Alejandro on verifying Sauer payments
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                                             Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                               Midtown Campus Properties, LLC
Client Ledger                                                                                                                 Client 8517.0
Primary Partner - Client Code
For the Period: 3/1/2021 - 3/31/2021



                                                                                                                                 Billing
        Posting Date        Employee                                                  Description                                Code               Hours      Amount


                                                   bankruptcy


         3/16/2021            Juan Mederos         WIP: Consulting services                                                             500             5.00   1,025.00
                                                   Visit client, review internal Quickbooks accounting, prepare and
                                                   upload initial documents needed for monthly MOR eport for
                                                   bankrupty filing for February 2021, analyze information needed for
                                                   attorneys


         3/17/2021            Juan Mederos         WIP: Telephone call with client                                                      213             0.33      67.65
                                                   Phone call with Oscar Sr., discuss damages sheet


         3/17/2021            Juan Mederos         WIP: Consulting services                                                             500             2.75     563.75
                                                   Preparing basic damages calcuation documents for Becker Lawyers


         3/22/2021            Juan Mederos         WIP: Telephone call with client                                                      213             0.25      51.25
                                                   Speak with Randy Dow of Becker & Poliakoff regarding damages
                                                   calculation to prepare


         3/22/2021            Juan Mederos         WIP: Telephone call with client                                                      213             1.00     205.00
                                                   Conference all with Oscar Sr., Oscar Jr. and William Stop of
                                                   Becker Poliakoff to discuss damage calculations and presentation


         3/23/2021            Juan Mederos         WIP: Telephone call with client                                                      213             0.75     153.75
                                                   Follow up phone call with Oscar Sr. and Oscar Jr. to discuss
                                                   update of damages calculation


         3/23/2021            Juan Mederos         WIP: Consulting services                                                             500             1.00     205.00
                                                   Restoring Quickbooks backups, export information


         3/23/2021            Juan Mederos         WIP: Consulting services                                                             500             1.25     256.25
                                                   Preparing reports for upcoming litigation filing


                                                   Subtotals - Juan Mederos                                                                            30.09   6,168.45


         3/17/2021              Mayte Mera         WIP: Manager/Supervisor Billing                                                      250             0.15       6.75
                                                   Preparation of February 2021 billing


         3/18/2021              Mayte Mera         WIP: Etensions / Corporations                                                        321             0.15       6.75
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                                       Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                        Midtown Campus Properties, LLC
Client Ledger                                                                                                    Client 8517.0
Primary Partner - Client Code
For the Period: 3/1/2021 - 3/31/2021



                                                                                                                    Billing
        Posting Date        Employee                                          Description                           Code               Hours      Amount


                                             Preparation of February 2021 billing


                                             Subtotals - Mayte Mera                                                                        0.15      13.50


                                             Totals - All                                                                                 46.24   9,375.70
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    53678
Date           05/31/2021
Client No.     8517

For Professional Services Rendered Through May 31, 2021

Current


Update of internal accounting including:

−   Preparation of March 2021 and April 2021 bank reconciliations

−   Preparation and organization of documents needed for monthly
    Debtor in Possession operating report for the months of
    March 2021 and April 2021




                                                                            Current Amount Due           $    3,146.25

                                                                                       Prior Balance         25,839.05

                                                                                Total Amount Due         $   28,985.30


              0 - 30          31- 60                61 - 90                91 - 120           Over 120         Balance
           3,146.25             0.00              9,375.70                 8,413.75           8,049.60        28,985.30
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit
your questions in writing within 30 days. Otherwise, this statement is final.

Please make your check payable to Garcia, Espinosa, Miyares, Rodriguez, Trueba & Company, LLP. We
also accept all major credit cards. To process your credit card payment, please call Lendy Pacho at (305)
529-5440.

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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                               Midtown Campus Properties, LLC
Client Ledger                                                                                                                  Client 8517.0
Primary Partner - Client Code
For the Period: 4/1/2021 - 5/31/2021



                                                                                                                                  Billing
        Posting Date        Employee                                                  Description                                 Code               Hours      Amount


         5/12/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           2.00     770.00
                                                    Review March 2021 and April 2021 MOR report


                                                    Subtotals - Rafael Espinosa                                                                          2.00     770.00


          4/8/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                    250             2.25     483.75
                                                    Preparation of documents supporting monthly invoice billings
                                                    in accordance with fee application requirements for March 2021


         4/15/2021            Juan Mederos          WIP: Consulting services                                                             500             2.50     537.50
                                                    Visit client, review internal Quickbooks accounting, prepare and
                                                    upload initial documents needed for monthly MOR eport for
                                                    bankrupty filing for March 2021, analyze information needed for
                                                    attorneys


         5/17/2021            Juan Mederos          WIP: Consulting services                                                             500             6.25   1,343.75
                                                    5/17/2021 Visit client, reconcile Valley Bank and US bank accounts
                                                    review and revise accounting, discussions with Mabel about internal
                                                    accounting, prepare April 2021 information for MOR report and upload
                                                    to Dropbox


                                                    Subtotals - Juan Mederos                                                                            11.00   2,365.00


          4/9/2021              Mayte Mera          WIP: Manager/Supervisor Billing                                                      250             0.25      11.25
                                                    Preparation of March 2021 billing


                                                    Subtotals - Mayte Mera                                                                               0.25      11.25


                                                    Totals - All                                                                                        13.25   3,146.25
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    54205
Date           06/30/2021
Client No.     8517

For Professional Services Rendered Through June 30, 2021

Current


Update of internal accounting including:

−   Preparation of May 2021 bank reconciliations

−   Preparation and organization of documents needed for monthly
    Debtor in Possession operating report for the month of
    May 2021.




                                                                            Current Amount Due            $    1,684.00

                                                                                       Prior Balance          28,985.30

                                                                                Total Amount Due          $   30,669.30


              0 - 30          31- 60                61 - 90                91 - 120           Over 120          Balance
           1,684.00         3,146.25                  0.00                 9,375.70           16,463.35        30,669.30
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your questions in writing within 30 days. Otherwise, this statement is final.

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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                Midtown Campus Properties, LLC
Client Ledger                                                                                                                   Client 8517.0
Primary Partner - Client Code
For the Period: 6/1/2021 - 6/30/2021



                                                                                                                                   Billing
        Posting Date        Employee                                                  Description                                  Code               Hours      Amount


         6/21/2021          Rafael Espinosa         WIP: Partner Time                                                                        10           1.00     385.00
                                                    Review May 2021 MOR report


                                                    Subtotals - Rafael Espinosa                                                                           1.00     385.00


          6/7/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                     250             0.50     107.50
                                                    Preparation of documents supporting monthly invoice billings
                                                    in accordance with fee application requirements for May 2021


         6/18/2021            Juan Mederos          WIP: Consulting services                                                              500             5.50   1,182.50
                                                    Visit client, review internal Quickbooks accounting, reconcile
                                                    bank accounts, enter American Express charges related to
                                                    Midtown, upload docments needed for monthly MOR report for
                                                    bankruptcy filing for May 2021


                                                    Subtotals - Juan Mederos                                                                              6.00   1,290.00


          6/4/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                       250             0.15       9.00
                                                    Preparation of May 2021 billing


                                                    Subtotals - Odalys Diaz                                                                               0.15       9.00


                                                    Totals - All                                                                                          7.15   1,684.00
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    54654
Date           07/31/2021
Client No.     8517

For Professional Services Rendered Through July 31, 2021

Current




Update of internal accounting including:

−   Preparation of June 2021 bank reconciliations

−   Preparation and organization of documents needed for monthly
    Debtor in Possession operating report for the month of
    June 2021.


                                                                            Current Amount Due            $    1,899.00

                                                                                       Prior Balance          30,669.30

                                                                                Total Amount Due          $   32,568.30


              0 - 30          31- 60                61 - 90                91 - 120           Over 120          Balance
           1,899.00         1,684.00              3,146.25                     0.00           25,839.05        32,568.30
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit
your questions in writing within 30 days. Otherwise, this statement is final.

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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                Midtown Campus Properties, LLC
Client Ledger                                                                                                                   Client 8517.0
Primary Partner - Client Code
For the Period: 7/1/2021 - 7/31/2021



                                                                                                                                   Billing
        Posting Date        Employee                                                   Description                                 Code               Hours      Amount


         7/17/2021          Rafael Espinosa         WIP: Partner Time                                                                        10           1.00     385.00
                                                    Review June 2021 MOR report


                                                    Subtotals - Rafael Espinosa                                                                           1.00     385.00


          7/8/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                     250             0.50     107.50
                                                    Preparation of documents supporting monthly invoice billings
                                                    in accordance with fee application requirements for June 2021


         7/16/2021            Juan Mederos          WIP: Consulting services                                                              500             6.50   1,397.50
                                                    Visit client, review internal Quickbooks accounting, reconcile
                                                    bank accounts, enter American Express charges related to
                                                    Midtown, upload docments needed for monthly MOR report for
                                                    bankruptcy filing for June 2021


                                                    Subtotals - Juan Mederos                                                                              7.00   1,505.00


          7/9/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                       250             0.15       9.00
                                                    Preparation of June 2021 billing


                                                    Subtotals - Odalys Diaz                                                                               0.15       9.00


                                                    Totals - All                                                                                          8.15   1,899.00
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    55284
Date           09/15/2021
Client No.     8517

For Professional Services Rendered Through September 15, 2021

Current

Update of internal accounting including:

−   Preparation of July 2021 bank reconciliations

    Preparation and organization of documents needed for monthly
    Debtor in Possession operating report for the month of July 2021.                        $    1,720.00

Closing of the books and related adjustments for Midtown Apartments
UF, LLC for the fiscal year end December 31, 2020.                                                  930.95

Onsite visits on August 6, 2021 and August 20, 2021 to assist with update
of internal accounting including reconciliation of intercompany accounts through
December 31, 2020 with:

     Gables on the Green II, LLC
     Roger Development Group                                                                        806.25

Final billing in connection with the preparation of the tax returns for
the year ended December 31, 2020:

U.S. Partnership Return of Income (Form 1065)

Annual Return for Partnership Withholding Tax (Form 8804 & 8805)

Florida Partnership Information Return (F-1065)                                                   3,628.65

                                                                Current Amount Due                7,085.85

                                                                          Prior Balance          32,568.30

                                                                  Total Amount Due           $   39,654.15

              0 - 30           31- 60           61 - 90        91 - 120          Over 120          Balance
           7,085.85          1,899.00         1,684.00         3,146.25          25,839.05        39,654.15
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit
your questions in writing within 30 days. Otherwise, this statement is final.

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                         CERTIFIED PUBLIC ACCOUNTANTS AND CONSULTANTS
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Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.
Midtown Campus Properties, LLC
Invoice No. 55284                                                                                    Page 2


SERVICE                                                                                                   AMOUNT


                                   2600 Douglas Road, Suite 800 Coral Gables, FL 33134
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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                Midtown Campus Properties, LLC
Client Ledger                                                                                                                   Client 8517.0
Primary Partner - Client Code
For the Period: 8/1/2021 - 9/15/2021



                                                                                                                                   Billing
        Posting Date        Employee                                                  Description                                  Code               Hours      Amount


         8/18/2021          Rafael Espinosa         WIP: Partner Time                                                                        10           0.25      96.25
                                                    Discusson regarding Midtown Campus year end with Juan Mederos


         8/21/2021          Rafael Espinosa         WIP: Partner Time                                                                        10           1.00     385.00
                                                    Review July 2021 MOR report


         9/13/2021          Rafael Espinosa         WIP: Partner Time
                                                    Review of tax return, note revisions to enter, discuss with
                                                    Juan Mederos                                                                             10           1.00     385.00


                                                    Subtotals - Rafael Espinosa                                                                           2.25     866.25


         8/25/2021      Alejandro Rodriguez         WIP: Closing of books                                                                 203             0.75      60.00
                                                    Meet with Juan, discuss Midtown year end work to perform


         8/26/2021      Alejandro Rodriguez         WIP: Closing of books                                                                 203             4.50     360.00
                                                    Work on long-term debt and capitalized costs and record adjusting
                                                    journal entries


                                                    Subtotals - Alejandro Rodriguez                                                                       5.25     420.00


          9/8/2021                 Lucy Lou         WIP: Review by Supervisor / Seni                                                      323             1.50     277.50
                                                    Review year end closing and return 1065/8804


         9/11/2021                 Lucy Lou         WIP: Review by Supervisor / Seni                                                      323             0.25      46.25
                                                    Second review of tax return


                                                    Subtotals - Lucy Lou                                                                                  1.75     323.75


          8/6/2021            Juan Mederos          WIP: On site acct & consult                                                           105             2.00     430.00
                                                    Researching and cross comparing historical intercompany
                                                    transactions with Roger Development Group


          8/6/2021            Juan Mederos          WIP: Closing of books                                                                 105             0.75     161.25
                                                    Complete cross comparison of intercompany transactions with
                                                    Roger Development, identify corrections to record


          8/9/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                     250             0.75     161.25
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Client Ledger                                                                                                                  Client 8517.0
Primary Partner - Client Code
For the Period: 8/1/2021 - 9/15/2021



                                                                                                                                  Billing
        Posting Date        Employee                                                 Description                                  Code               Hours      Amount


                                                   Preparation of documents supporting monthly invoice billings
                                                   in accordance with fee application requirements for August 2021


         8/20/2021            Juan Mederos         WIP: On site acct & consult                                                           105             1.00     215.00
                                                   Visit company, complete reconciliation of intercompany accounts


         8/20/2021            Juan Mederos         WIP: Consulting services                                                              500             6.21   1,335.00
                                                   Visit client, review internal Quickbooks accounting, reconcile
                                                   bank accounts, enter American Express charges related to
                                                   Midtown, upload docments needed for monthly MOR report for
                                                   bankruptcy filing for July 2021


         8/25/2021            Juan Mederos         WIP: Closing of books                                                                 203             0.75     161.25
                                                   Meet with Alejandro, review costs, loans, give instructions on
                                                   workpaper documentation


         8/31/2021            Juan Mederos         WIP: Closing of books                                                                 203             1.25     268.75
                                                   Document construction costs, acknowledge revisions, review cash
                                                   cash workpapers, document retainage payable


         8/31/2021            Juan Mederos         WIP: Closing of books                                                                 203             2.50     537.50
                                                   Document DIP loan, US Ban loan, members capital, related parties


          9/1/2021            Juan Mederos         WIP: Closing of books                                                                 203             0.33      70.95
                                                   Phone call with Ricky, obtain Earthworks case settlement documents
                                                   settlement documents, address emails sent by Mariaelena, speak with
                                                   Mark about Earthworks


          9/2/2021            Juan Mederos         WIP: Prep / Corp income tax retur                                                     303             3.16     679.40
                                                   Initial preparation of 2020 Form 1065


          9/3/2021            Juan Mederos         WIP: Prep / Corp income tax retur                                                     303             0.25      53.75
                                                   Update tax return to correct ownership percentages


          9/9/2021            Juan Mederos         WIP: Prep / Corp income tax retur                                                     303             0.75     161.25
                                                   Clearing revew notes on Midtown Campus, attempt to call Tara at
                                                   Asset Management to discuss Midtown Apartments
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Client Ledger                                                                                                                  Client 8517.0
Primary Partner - Client Code
For the Period: 8/1/2021 - 9/15/2021



                                                                                                                                  Billing
        Posting Date        Employee                                                   Description                                Code               Hours      Amount


          9/9/2021            Juan Mederos          WIP: Closing of books                                                                203             1.00     215.00
                                                    Phone call with Ruth of management company, discuss accounting for
                                                    Midtown Apartments


         9/10/2021            Juan Mederos          WIP: Closing of books                                                                203             3.33     715.95
                                                    Input Midtown Apartments trial balance, record adjustments for tax
                                                    return, import and update tax return with Midtown Apartments activity


         9/13/2021            Juan Mederos          WIP: Prep / Corp income tax retur                                                    303             0.17      36.55
                                                    Prepare and email draft to Oscar


         9/13/2021            Juan Mederos          WIP: Prep / Corp income tax retur                                                    303             0.33      70.95
                                                    Discuss tax return revision with Ralph


         9/14/2021            Juan Mederos          WIP: Prep / Corp income tax retur                                                    303             0.50     107.50
                                                    Prepare power of attorney and returns for signature


         9/15/2021            Juan Mederos          WIP: Prep / Corp income tax retur                                                    303             0.17      36.55
                                                    Prepare and archive tax copies, email to Oscar


         9/15/2021            Juan Mederos          WIP: Prep / Corp income tax retur                                                    303             0.22      47.50
                                                    Prepare and document power of attorneys, archive into binder


                                                    Subtotals - Juan Mederos                                                                            25.42   5,465.35


         8/10/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                      250             0.15      10.50
                                                    Preparation of July 2021 billing


                                                    Subtotals - Odalys Diaz                                                                              0.15      10.50


                                                    Totals - All                                                                                        34.82   7,085.85
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    55900
Date           09/30/2021
Client No.     8517

For Professional Services Rendered Through September 30, 2021

Current



Update of internal accounting including:

-   Adjustment of December 31, 2020 trial balance to agree with
    final adjusted trial balance

    Preparation and organization of documents needed for monthly
    Debtor in Possession operating report for the month of August 2021.




                                                                              Current Amount Due           $    2,491.75

                                                                                        Prior Balance          39,654.15

                                                                                 Total Amount Due          $   42,145.90


              0 - 30           31- 60                61 - 90               91 - 120            Over 120         Balance
           9,577.60              0.00              1,899.00                1,684.00            28,985.30       42,145.90
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit your
questions in writing within 30 days. Otherwise, this statement is final.

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accept all major credit cards. To process your credit card payment, please call Odalys Diaz at (305)
529-5440.

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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                Midtown Campus Properties, LLC
Client Ledger                                                                                                                   Client 8517.0
Primary Partner - Client Code
For the Period: 9/15/2021 - 9/30/2021



                                                                                                                                   Billing
        Posting Date        Employee                                                   Description                                 Code               Hours      Amount


         9/20/2021          Rafael Espinosa         WIP: Partner Time                                                                        10           1.00     385.00
                                                    Review August 2021 MOR report, discuss with Juan Mederos


                                                    Subtotals - Rafael Espinosa                                                                           1.00     385.00


         9/17/2021            Juan Mederos          WIP: Consulting services                                                              500             8.00   1,720.00
                                                    Visit client, review internal Quickbooks accounting, reconcile
                                                    bank accounts, enter American Express charges related to
                                                    Midtown, upload docments needed for monthly MOR report for
                                                    bankruptcy filing for August 2021, update 12/31/2020 year end
                                                    adjustments.


         9/20/2021            Juan Mederos          WIP: Consulting services                                                              500             0.50     107.50
                                                    Research and provision of information related to voided check
                                                    activity for the month of August 2021.


         9/20/2021            Juan Mederos          WIP: Consulting services                                                              500             0.25      53.75
                                                    Discussion with Ralph Espinosa regarding August 2021 MOR


         9/22/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                     250             1.00     215.00
                                                    Preparation of documents supporty monthly invoice billings
                                                    in accordances with fee application requirements for the month
                                                    of September 2021


                                                    Subtotals - Juan Mederos                                                                              9.75   2,096.25


         9/23/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                       250             0.15      10.50
                                                    Preparation of July 2021 billing


                                                    Subtotals - Odalys Diaz                                                                               0.15      10.50


                                                    Totals - All                                                                                         10.90   2,491.75
              Case 20-15173-RAM                  Doc 561            Filed 11/29/21             Page 36 of 68




Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    56689
Date           10/31/2021
Client No.     8517

For Professional Services Rendered Through October 31, 2021

Current


Onsite visit on October 19, 2021 to assist with update of internal accounting,
including:

−   Preparation of September 2021 bank reconciliations

−   Preparation and organization of documents needed for monthly
    Debtor in Possession operating report




                                                                              Current Amount Due           $    2,226.05

                                                                                        Prior Balance          42,145.90

                                                                                 Total Amount Due          $   44,371.95


              0 - 30           31- 60                61 - 90               91 - 120            Over 120         Balance
           2,226.05          2,491.75              7,085.85                1,899.00            30,669.30       44,371.95
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questions in writing within 30 days. Otherwise, this statement is final.

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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                 Midtown Campus Properties, LLC
Client Ledger                                                                                                                    Client 8517.0
Primary Partner - Client Code
For the Period: 10/1/2021 - 10/31/2021



                                                                                                                                    Billing
        Posting Date        Employee                                                  Description                                   Code               Hours      Amount


        10/21/2021         Rafael Espinosa          WIP: Partner Time                                                                         10           0.83     319.55
                                                    Review September MOR report information


                                                    Subtotals - Rafael Espinosa                                                                            0.83     319.55


        10/19/2021           Juan Mederos           WIP: Consulting services                                                               500             7.75   1,666.25
                                                    Visit client, obtain and reconcile U.S. Bank activity, enter remaining
                                                    credit card activity paid by Roger International, review and update
                                                    internal accounting, prepare information needed for September 2021


        10/22/2021           Juan Mederos           WIP: Manager / Supervisor Billing                                                      250             1.00     215.00
                                                    Preparation of documents supporty monthly invoice billings
                                                    in accordances with fee application requirements for the month
                                                    of September 2021


                                                    Subtotals - Juan Mederos                                                                               8.75   1,881.25


        10/12/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                        250             0.36      25.25
                                                    Preparation of September 2021 billing


                                                    Subtotals - Odalys Diaz                                                                                0.36      25.25


                                                    Totals - All                                                                                           9.94   2,226.05
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    51531
Date           01/31/2021
Client No.     8517

For Professional Services Rendered Through January 31, 2021

Current

Update of internal accounting including:

−   Preparation of December 2020 bank reconciliations

−   Analysis of corporate year end performance and tax planning

−   Preparation and organization of documents needed for monthly
    Debtor in Possession operating report                                                                    $    1,844.40

Preparation of court filings.                                                                                      183.45

Meeting on January 15, 2021 to discuss status of litigation, corporate
tax planning and reporting requirements                                                                            905.00

Telephone call regarding accounting services provided by management
company.                                                                                                           118.90

                                                                                 Current Amount Due          $    3,051.75

                                                                                           Prior Balance         24,989.25

                                                                                    Total Amount Due         $   28,041.00


              0 - 30              31- 60                61 - 90               91 - 120           Over 120         Balance
           3,051.75             1,633.90              2,011.10                3,426.45           17,917.80       28,041.00
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit your
questions in writing within 30 days. Otherwise, this statement is final.

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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                 Midtown Campus Properties, LLC
Client Ledger                                                                                                                    Client 8517.0
Primary Partner - Client Code
For the Period: 1/1/2021 - 1/31/2021



                                                                                                                                    Billing
        Posting Date        Employee                                                  Description                                   Code               Hours      Amount


         1/14/2021          Rafael Espinosa         WIP: Partner Time                                                                         10           0.33     115.50
                                                    Phone call with Juan Mederos to discuss new financial reporting
                                                    requirements and status of operations.


         1/15/2021          Rafael Espinosa         WIP: Partner Time                                                                         10           2.00     700.00
                                                    Client meeting to discuss status of litigation, corporate tax planning
                                                    and company reporting requirements


         1/16/2021          Rafael Espinosa         WIP: Partner Time                                                                         10           0.50     175.00
                                                    Review December 2020 MOR Report, discuss with Juan Mederos


                                                    Subtotals - Rafael Espinosa                                                                            2.83     990.50


         1/13/2021            Juan Mederos          WIP: Telephone call with client                                                        213             0.33      67.65
                                                    Phone call with Oscar Jr, discuss management company accounting
                                                    and reporting


         1/13/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                      250             0.84     172.20
                                                    Preparation of documents supporting monthly invoice billings
                                                    in accordance with fee application requirements, prepare and
                                                    submit documents to attorneys for upcoming fee hearing


         1/14/2021            Juan Mederos          WIP: Consulting services                                                               500             0.33      67.65
                                                    Phone call withRalph Espinosa, dicuss company financial reporting
                                                    requirements and operations overall


         1/15/2021            Juan Mederos          WIP: Consulting services                                                               500             8.00   1,640.00
                                                    Obtain and restore Quickbooks backup, review internal accounting
                                                    12/31/2020, reconcile US Bank account, record adjustments, prepare
                                                    documents needed for MOR report, upload to Dropbox, participate
                                                    in joint meeting to discuss operations and reporting requirements


         1/16/2021            Juan Mederos          WIP: Consulting services                                                               500             0.25      51.25
                                                    Meet with Ralph, discuss December 2020 MOR report


         1/20/2021            Juan Mederos          WIP: Telephone call with client                                                        213             0.25      51.25
                                                    Phone call with Oscar Jr, discuss issue of held checks and
                                                    creation of a held check log to assist with future bank reconciliations
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                                             Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                        Midtown Campus Properties, LLC
Client Ledger                                                                                                          Client 8517.0
Primary Partner - Client Code
For the Period: 1/1/2021 - 1/31/2021



                                                                                                                          Billing
        Posting Date        Employee                                                 Description                          Code               Hours      Amount



                                                   Subtotals - Juan Mederos                                                                     10.00   2,050.00


         1/13/2021             Lendy Pacho         WIP: Manager/Supervisor Billing                                               250             0.15      11.25
                                                   Preparation of December 2020 billing


                                                   Subtotals - Lendy Pacho                                                                       0.15      11.25


                                                   Totals - All                                                                                 12.98   3,051.75
              Case 20-15173-RAM                 Doc 561            Filed 11/29/21            Page 41 of 68




Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    52253
Date           02/28/2021
Client No.     8517

For Professional Services Rendered Through February 28, 2021

Current

Update of internal accounting including:

- Preparation of January 2021 bank reconciliations

- Preparation and organization of documents needed for monthly
  Debtor in Possession operating report                                                                  $    1,622.35

Conference call on March 18, 2021 with attorneys and company to
iscuss work to perform and documents to prepare concerning
Sauer Construction.                                                                                            693.75

Meetings on February 22, 2021 and February 26, 2021 to review, analyze
and obtain information regarding construction issues concerning Sauer pay
applications construction cost overruns charged and incurred.                                                 3,177.50

Researching and preparing analytical schedules detailing cost overcharges
by Sauer Construction by line item and cost overruns incurred.                                                2,920.15
                                                                                                         ____________

                                                                                  Current Amount Due     $    8,413.75

                                                                                       Prior Balance          8,049.60

                                                                                Total Amount Due         $   16,463.35


              0 - 30          31- 60                61 - 90                91 - 120           Over 120         Balance
           8,413.75         3,051.75              1,633.90                 2,011.10           1,352.85        16,463.35
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit
your questions in writing within 30 days. Otherwise, this statement is final.

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529-5440.

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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                               Midtown Campus Properties, LLC
Client Ledger                                                                                                                  Client 8517.0
Primary Partner - Client Code
For the Period: 2/1/2021 - 2/28/2021



                                                                                                                                  Billing
        Posting Date        Employee                                                  Description                                 Code               Hours      Amount


          2/8/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.50     175.00
                                                    Meeting with Juan Mederos to discuss status of operations
                                                    for January 2021


         2/16/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.50     175.00
                                                    Review January 2021 MOR Report, discuss with Juan Mederos


         2/18/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           1.25     437.50
                                                    Conference call with attorneys and Oscar Roger to discuss
                                                    cost analysis and information to gather regarding Sauer Construction


         2/27/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           2.00     700.00
                                                    Meeting with Juan Mederos to review and discuss cost overrun
                                                    analysis


                                                    Subtotals - Rafael Espinosa                                                                          4.25   1,487.50


          2/8/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                    250             0.83     170.15
                                                    Preparation of documents supporting monthly invoice billings
                                                    in accordance with fee application requirements


          2/8/2021            Juan Mederos          WIP: Consulting services                                                             500             0.17      34.85
                                                    Meet with Ralph, discuss January 2021 operations


         2/12/2021            Juan Mederos          WIP: Consulting services                                                             500             5.00   1,025.00
                                                    Visit client, review internal accounting and update, correct expenses
                                                    for rental operations, prepare and upload documents needed for
                                                    January 2021 reports


         2/16/2021            Juan Mederos          WIP: Consulting services                                                             500             0.17      34.85
                                                    Meet with Ralph, discuss January 2021 MOR report


         2/18/2021            Juan Mederos          WIP: Telephone call with client                                                      213             1.25     256.25
                                                    Participate in conference call with attorneys, Oscar Roger, discuss
                                                    work to perform with Ralph, setup meeting, call Yudith and instruct on
                                                    documents needed


         2/18/2021            Juan Mederos          WIP: Telephone call with client                                                      213             0.58     118.90
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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                Midtown Campus Properties, LLC
Client Ledger                                                                                                                   Client 8517.0
Primary Partner - Client Code
For the Period: 2/1/2021 - 2/28/2021



                                                                                                                                   Billing
        Posting Date        Employee                                                  Description                                  Code               Hours      Amount


                                                    Phone call with Lyanne, discuss calculations of Sauer project
                                                    performed and information to research


         2/22/2021            Juan Mederos          WIP: Consulting services                                                              500             8.50   1,742.50
                                                    Visit company offices, meet with Oscar Roger, preparing analysis of
                                                    Pay App #30 of Sauer Construction documenting cost overruns
                                                    prepare analysis of monthly Sauer billings to Midtown, research and
                                                    tie monthly payments made to Sauer to pay applications


         2/26/2021            Juan Mederos          WIP: Consulting services                                                              500             7.00   1,435.00
                                                    Visit client, meet with Oscar Roger, review, analyze and document
                                                    construction issues with Sauer Construction pay applications and
                                                    construction work performed


         2/27/2021            Juan Mederos          WIP: Consulting services                                                              500             6.00   1,230.00
                                                    Begin preparation of analytical reports listing cost overcharges by
                                                    Sauer Construction and preparation of line item contract scope items
                                                    overcharged by Sauer Construction, meet and discuss info with
                                                    Ralph Espinosa


         2/27/2021            Juan Mederos          WIP: Consulting services                                                              500             4.25     871.25
                                                    Continue work on Sauer Construction cost overcharges, analyzing
                                                    cash flow, researching Quickbooks


                                                    Subtotals - Juan Mederos                                                                             33.58   6,918.75


          2/9/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                       250             0.15       7.50
                                                    Preparation of January 2021 billing


                                                    Subtotals - Odalys Diaz                                                                               0.15       7.50


                                                    Totals - All                                                                                         37.98   8,413.75
               Case 20-15173-RAM                    Doc 561            Filed 11/29/21             Page 44 of 68




Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.     52607
Date            03/31/2021
Client No.      8517

For Professional Services Rendered Through March 31, 2021

Current

Update of internal accounting including:

- Preparation of January 2021 bank reconciliations

- Preparation and organization of documents needed for monthly
  Debtor in Possession operating report                                                                          $    1,405.00

Preparation of costs analysis reports concerning Sauer pay applications                                               4,315.80
cost overruns charged and incurred.

Client meeting on March 4, 2021 to go over cost overruns calculated
and damages reports prepared.                                                                                         1,571.25

Zoom conference call on March 8, 2021 with attorneys and company to
discuss work to perform and documents prepared concerning Sauer
Construction cost overruns.                                                                                           1,197.50

Preparation of court filings                                                                                            321.00

Conference calls with company and attorneys to discuss damages
calculations and status of case                                                                                         565.15
                                                                                                             ____________

                                                                                 Current Amount Due          $        9,375.70

                                                                                           Prior Balance             16,463.35

                                                                                    Total Amount Due         $       25,839.05


               0 - 30             31- 60                61 - 90               91 - 120            Over 120            Balance
            9,375.70            8,413.75              3,051.75                1,633.90            3,363.95           25,839.05
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit your
questions in writing within 30 days. Otherwise, this statement is final.

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Client Ledger                                                                                                                  Client 8517.0
Primary Partner - Client Code
For the Period: 3/1/2021 - 3/31/2021



                                                                                                                                  Billing
        Posting Date        Employee                                                 Description                                  Code               Hours      Amount


          3/2/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.50     175.00
                                                    Meeting with Juan Mederos to review and discuss Sauer
                                                    costs overruns analysis


          3/2/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.25      87.50
                                                    Phone call with Oscar Roger


          3/2/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           1.00     350.00
                                                    Meet with Juan Mederos to discuss and review Sauer cost overrun
                                                    analysis reports prepared


          3/3/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.75     262.50
                                                    Meet with Juan Mederos and discuss Sauer cost overrun analysis


          3/4/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           2.00     700.00
                                                    Meet with Juan Mederos to review Sauer cost overrun analysis
                                                    reports prepared, make revisions to analysis


          3/8/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.25      87.50
                                                    Prepare for Zoom conference meeting regarding Midtown


          3/8/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           2.00     700.00
                                                    Attend Zoon conference call meeting to discuss Midtown Campus
                                                    bankruptcy


         3/17/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           0.50     175.00
                                                    Review February 2021 MOR report


                                                    Subtotals - Rafael Espinosa                                                                          7.25   2,537.50


          3/3/2021      Alejandro Rodriguez         WIP: Consulting services                                                             500             5.25     393.75
                                                    Review Quickbooks accounting files to perform search for
                                                    subcontractor payments in line wth list of subcontractors provided


         3/12/2021      Alejandro Rodriguez         WIP: Consulting services                                                             500             3.50     262.50
                                                    Work on updating Sauer historical payment applciation billings
                                                    and payments issued schedule
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                                             Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                              Midtown Campus Properties, LLC
Client Ledger                                                                                                                Client 8517.0
Primary Partner - Client Code
For the Period: 3/1/2021 - 3/31/2021



                                                                                                                                Billing
        Posting Date        Employee                                                Description                                 Code               Hours      Amount


                                                   Subtotals - Alejandro Rodriguez                                                                     8.75     656.25


          3/2/2021            Juan Mederos         WIP: Consulting services                                                            500             1.00     205.00
                                                   Meeting with Ralph Espinosa to go over work product of Sauer
                                                   cost overrun analysis


          3/2/2021            Juan Mederos         WIP: Consulting services                                                            500             1.51     309.55
                                                   Work on resolving issues with Sauer pay applications to reconcile


          3/2/2021            Juan Mederos         WIP: Consulting services                                                            500             2.00     410.00
                                                   Prepare PDF schedules of Sauier work product, prepare schedule
                                                   of cost overrun analysis


          3/3/2021            Juan Mederos         WIP: Consulting services                                                            500             0.75     153.75
                                                   Meet with Ralph Espinosa and discuss Sauer cost overrun analysis


          3/3/2021            Juan Mederos         WIP: Consulting services                                                            500             4.00     820.00
                                                   Speak with Marialena regarding analysis performed, instruct Alex
                                                   on information, update reports


          3/4/2021            Juan Mederos         WIP: Consulting services                                                            500             0.50     102.50
                                                   Prepare reports for upcoming meeting to discuss Suar cost
                                                   overruns and analysis


          3/4/2021            Juan Mederos         WIP: Consulting services                                                            500             4.25     871.25
                                                   Meeting with Oscar Sr. and Oscar Jr., go over analytical spreadsheets
                                                   documenting cost overruns of Saur on Midtown project


          3/8/2021            Juan Mederos         WIP: Manager / Supervisor Billing                                                   250             1.50     307.50
                                                   Preparation of documents supporting monthly invoice billings
                                                   in accordance with fee application requirements


          3/8/2021            Juan Mederos         WIP: Consulting services                                                            500             2.00     410.00
                                                   Attend Zoom conference call meeting to discuss Midtown Campus
                                                   bankruptcy


         3/12/2021            Juan Mederos         WIP: Consulting services                                                            500             0.25      51.25
                                                   Work with Alejandro on verifying Sauer payments
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                                             Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                               Midtown Campus Properties, LLC
Client Ledger                                                                                                                 Client 8517.0
Primary Partner - Client Code
For the Period: 3/1/2021 - 3/31/2021



                                                                                                                                 Billing
        Posting Date        Employee                                                  Description                                Code               Hours      Amount


                                                   bankruptcy


         3/16/2021            Juan Mederos         WIP: Consulting services                                                             500             5.00   1,025.00
                                                   Visit client, review internal Quickbooks accounting, prepare and
                                                   upload initial documents needed for monthly MOR eport for
                                                   bankrupty filing for February 2021, analyze information needed for
                                                   attorneys


         3/17/2021            Juan Mederos         WIP: Telephone call with client                                                      213             0.33      67.65
                                                   Phone call with Oscar Sr., discuss damages sheet


         3/17/2021            Juan Mederos         WIP: Consulting services                                                             500             2.75     563.75
                                                   Preparing basic damages calcuation documents for Becker Lawyers


         3/22/2021            Juan Mederos         WIP: Telephone call with client                                                      213             0.25      51.25
                                                   Speak with Randy Dow of Becker & Poliakoff regarding damages
                                                   calculation to prepare


         3/22/2021            Juan Mederos         WIP: Telephone call with client                                                      213             1.00     205.00
                                                   Conference all with Oscar Sr., Oscar Jr. and William Stop of
                                                   Becker Poliakoff to discuss damage calculations and presentation


         3/23/2021            Juan Mederos         WIP: Telephone call with client                                                      213             0.75     153.75
                                                   Follow up phone call with Oscar Sr. and Oscar Jr. to discuss
                                                   update of damages calculation


         3/23/2021            Juan Mederos         WIP: Consulting services                                                             500             1.00     205.00
                                                   Restoring Quickbooks backups, export information


         3/23/2021            Juan Mederos         WIP: Consulting services                                                             500             1.25     256.25
                                                   Preparing reports for upcoming litigation filing


                                                   Subtotals - Juan Mederos                                                                            30.09   6,168.45


         3/17/2021              Mayte Mera         WIP: Manager/Supervisor Billing                                                      250             0.15       6.75
                                                   Preparation of February 2021 billing


         3/18/2021              Mayte Mera         WIP: Etensions / Corporations                                                        321             0.15       6.75
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                                       Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                        Midtown Campus Properties, LLC
Client Ledger                                                                                                    Client 8517.0
Primary Partner - Client Code
For the Period: 3/1/2021 - 3/31/2021



                                                                                                                    Billing
        Posting Date        Employee                                          Description                           Code               Hours      Amount


                                             Preparation of February 2021 billing


                                             Subtotals - Mayte Mera                                                                        0.15      13.50


                                             Totals - All                                                                                 46.24   9,375.70
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    53678
Date           05/31/2021
Client No.     8517

For Professional Services Rendered Through May 31, 2021

Current


Update of internal accounting including:

−   Preparation of March 2021 and April 2021 bank reconciliations

−   Preparation and organization of documents needed for monthly
    Debtor in Possession operating report for the months of
    March 2021 and April 2021




                                                                            Current Amount Due           $    3,146.25

                                                                                       Prior Balance         25,839.05

                                                                                Total Amount Due         $   28,985.30


              0 - 30          31- 60                61 - 90                91 - 120           Over 120         Balance
           3,146.25             0.00              9,375.70                 8,413.75           8,049.60        28,985.30
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit
your questions in writing within 30 days. Otherwise, this statement is final.

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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                               Midtown Campus Properties, LLC
Client Ledger                                                                                                                  Client 8517.0
Primary Partner - Client Code
For the Period: 4/1/2021 - 5/31/2021



                                                                                                                                  Billing
        Posting Date        Employee                                                  Description                                 Code               Hours      Amount


         5/12/2021          Rafael Espinosa         WIP: Partner Time                                                                       10           2.00     770.00
                                                    Review March 2021 and April 2021 MOR report


                                                    Subtotals - Rafael Espinosa                                                                          2.00     770.00


          4/8/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                    250             2.25     483.75
                                                    Preparation of documents supporting monthly invoice billings
                                                    in accordance with fee application requirements for March 2021


         4/15/2021            Juan Mederos          WIP: Consulting services                                                             500             2.50     537.50
                                                    Visit client, review internal Quickbooks accounting, prepare and
                                                    upload initial documents needed for monthly MOR eport for
                                                    bankrupty filing for March 2021, analyze information needed for
                                                    attorneys


         5/17/2021            Juan Mederos          WIP: Consulting services                                                             500             6.25   1,343.75
                                                    5/17/2021 Visit client, reconcile Valley Bank and US bank accounts
                                                    review and revise accounting, discussions with Mabel about internal
                                                    accounting, prepare April 2021 information for MOR report and upload
                                                    to Dropbox


                                                    Subtotals - Juan Mederos                                                                            11.00   2,365.00


          4/9/2021              Mayte Mera          WIP: Manager/Supervisor Billing                                                      250             0.25      11.25
                                                    Preparation of March 2021 billing


                                                    Subtotals - Mayte Mera                                                                               0.25      11.25


                                                    Totals - All                                                                                        13.25   3,146.25
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    54205
Date           06/30/2021
Client No.     8517

For Professional Services Rendered Through June 30, 2021

Current


Update of internal accounting including:

−   Preparation of May 2021 bank reconciliations

−   Preparation and organization of documents needed for monthly
    Debtor in Possession operating report for the month of
    May 2021.




                                                                            Current Amount Due            $    1,684.00

                                                                                       Prior Balance          28,985.30

                                                                                Total Amount Due          $   30,669.30


              0 - 30          31- 60                61 - 90                91 - 120           Over 120          Balance
           1,684.00         3,146.25                  0.00                 9,375.70           16,463.35        30,669.30
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit
your questions in writing within 30 days. Otherwise, this statement is final.

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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                Midtown Campus Properties, LLC
Client Ledger                                                                                                                   Client 8517.0
Primary Partner - Client Code
For the Period: 6/1/2021 - 6/30/2021



                                                                                                                                   Billing
        Posting Date        Employee                                                  Description                                  Code               Hours      Amount


         6/21/2021          Rafael Espinosa         WIP: Partner Time                                                                        10           1.00     385.00
                                                    Review May 2021 MOR report


                                                    Subtotals - Rafael Espinosa                                                                           1.00     385.00


          6/7/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                     250             0.50     107.50
                                                    Preparation of documents supporting monthly invoice billings
                                                    in accordance with fee application requirements for May 2021


         6/18/2021            Juan Mederos          WIP: Consulting services                                                              500             5.50   1,182.50
                                                    Visit client, review internal Quickbooks accounting, reconcile
                                                    bank accounts, enter American Express charges related to
                                                    Midtown, upload docments needed for monthly MOR report for
                                                    bankruptcy filing for May 2021


                                                    Subtotals - Juan Mederos                                                                              6.00   1,290.00


          6/4/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                       250             0.15       9.00
                                                    Preparation of May 2021 billing


                                                    Subtotals - Odalys Diaz                                                                               0.15       9.00


                                                    Totals - All                                                                                          7.15   1,684.00
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    54654
Date           07/31/2021
Client No.     8517

For Professional Services Rendered Through July 31, 2021

Current




Update of internal accounting including:

−   Preparation of June 2021 bank reconciliations

−   Preparation and organization of documents needed for monthly
    Debtor in Possession operating report for the month of
    June 2021.


                                                                            Current Amount Due            $    1,899.00

                                                                                       Prior Balance          30,669.30

                                                                                Total Amount Due          $   32,568.30


              0 - 30          31- 60                61 - 90                91 - 120           Over 120          Balance
           1,899.00         1,684.00              3,146.25                     0.00           25,839.05        32,568.30
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit
your questions in writing within 30 days. Otherwise, this statement is final.

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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                Midtown Campus Properties, LLC
Client Ledger                                                                                                                   Client 8517.0
Primary Partner - Client Code
For the Period: 7/1/2021 - 7/31/2021



                                                                                                                                   Billing
        Posting Date        Employee                                                   Description                                 Code               Hours      Amount


         7/17/2021          Rafael Espinosa         WIP: Partner Time                                                                        10           1.00     385.00
                                                    Review June 2021 MOR report


                                                    Subtotals - Rafael Espinosa                                                                           1.00     385.00


          7/8/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                     250             0.50     107.50
                                                    Preparation of documents supporting monthly invoice billings
                                                    in accordance with fee application requirements for June 2021


         7/16/2021            Juan Mederos          WIP: Consulting services                                                              500             6.50   1,397.50
                                                    Visit client, review internal Quickbooks accounting, reconcile
                                                    bank accounts, enter American Express charges related to
                                                    Midtown, upload docments needed for monthly MOR report for
                                                    bankruptcy filing for June 2021


                                                    Subtotals - Juan Mederos                                                                              7.00   1,505.00


          7/9/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                       250             0.15       9.00
                                                    Preparation of June 2021 billing


                                                    Subtotals - Odalys Diaz                                                                               0.15       9.00


                                                    Totals - All                                                                                          8.15   1,899.00
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    55284
Date           09/15/2021
Client No.     8517

For Professional Services Rendered Through September 15, 2021

Current

Update of internal accounting including:

−   Preparation of July 2021 bank reconciliations

    Preparation and organization of documents needed for monthly
    Debtor in Possession operating report for the month of July 2021.                        $    1,720.00

Closing of the books and related adjustments for Midtown Apartments
UF, LLC for the fiscal year end December 31, 2020.                                                  930.95

Onsite visits on August 6, 2021 and August 20, 2021 to assist with update
of internal accounting including reconciliation of intercompany accounts through
December 31, 2020 with:

     Gables on the Green II, LLC
     Roger Development Group                                                                        806.25

Final billing in connection with the preparation of the tax returns for
the year ended December 31, 2020:

U.S. Partnership Return of Income (Form 1065)

Annual Return for Partnership Withholding Tax (Form 8804 & 8805)

Florida Partnership Information Return (F-1065)                                                   3,628.65

                                                                Current Amount Due                7,085.85

                                                                          Prior Balance          32,568.30

                                                                  Total Amount Due           $   39,654.15

              0 - 30           31- 60           61 - 90        91 - 120          Over 120          Balance
           7,085.85          1,899.00         1,684.00         3,146.25          25,839.05        39,654.15
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit
your questions in writing within 30 days. Otherwise, this statement is final.

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Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.
Midtown Campus Properties, LLC
Invoice No. 55284                                                                                    Page 2


SERVICE                                                                                                   AMOUNT


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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                Midtown Campus Properties, LLC
Client Ledger                                                                                                                   Client 8517.0
Primary Partner - Client Code
For the Period: 8/1/2021 - 9/15/2021



                                                                                                                                   Billing
        Posting Date        Employee                                                  Description                                  Code               Hours      Amount


         8/18/2021          Rafael Espinosa         WIP: Partner Time                                                                        10           0.25      96.25
                                                    Discusson regarding Midtown Campus year end with Juan Mederos


         8/21/2021          Rafael Espinosa         WIP: Partner Time                                                                        10           1.00     385.00
                                                    Review July 2021 MOR report


         9/13/2021          Rafael Espinosa         WIP: Partner Time
                                                    Review of tax return, note revisions to enter, discuss with
                                                    Juan Mederos                                                                             10           1.00     385.00


                                                    Subtotals - Rafael Espinosa                                                                           2.25     866.25


         8/25/2021      Alejandro Rodriguez         WIP: Closing of books                                                                 203             0.75      60.00
                                                    Meet with Juan, discuss Midtown year end work to perform


         8/26/2021      Alejandro Rodriguez         WIP: Closing of books                                                                 203             4.50     360.00
                                                    Work on long-term debt and capitalized costs and record adjusting
                                                    journal entries


                                                    Subtotals - Alejandro Rodriguez                                                                       5.25     420.00


          9/8/2021                 Lucy Lou         WIP: Review by Supervisor / Seni                                                      323             1.50     277.50
                                                    Review year end closing and return 1065/8804


         9/11/2021                 Lucy Lou         WIP: Review by Supervisor / Seni                                                      323             0.25      46.25
                                                    Second review of tax return


                                                    Subtotals - Lucy Lou                                                                                  1.75     323.75


          8/6/2021            Juan Mederos          WIP: On site acct & consult                                                           105             2.00     430.00
                                                    Researching and cross comparing historical intercompany
                                                    transactions with Roger Development Group


          8/6/2021            Juan Mederos          WIP: Closing of books                                                                 105             0.75     161.25
                                                    Complete cross comparison of intercompany transactions with
                                                    Roger Development, identify corrections to record


          8/9/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                     250             0.75     161.25
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                                             Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                Midtown Campus Properties, LLC
Client Ledger                                                                                                                  Client 8517.0
Primary Partner - Client Code
For the Period: 8/1/2021 - 9/15/2021



                                                                                                                                  Billing
        Posting Date        Employee                                                 Description                                  Code               Hours      Amount


                                                   Preparation of documents supporting monthly invoice billings
                                                   in accordance with fee application requirements for August 2021


         8/20/2021            Juan Mederos         WIP: On site acct & consult                                                           105             1.00     215.00
                                                   Visit company, complete reconciliation of intercompany accounts


         8/20/2021            Juan Mederos         WIP: Consulting services                                                              500             6.21   1,335.00
                                                   Visit client, review internal Quickbooks accounting, reconcile
                                                   bank accounts, enter American Express charges related to
                                                   Midtown, upload docments needed for monthly MOR report for
                                                   bankruptcy filing for July 2021


         8/25/2021            Juan Mederos         WIP: Closing of books                                                                 203             0.75     161.25
                                                   Meet with Alejandro, review costs, loans, give instructions on
                                                   workpaper documentation


         8/31/2021            Juan Mederos         WIP: Closing of books                                                                 203             1.25     268.75
                                                   Document construction costs, acknowledge revisions, review cash
                                                   cash workpapers, document retainage payable


         8/31/2021            Juan Mederos         WIP: Closing of books                                                                 203             2.50     537.50
                                                   Document DIP loan, US Ban loan, members capital, related parties


          9/1/2021            Juan Mederos         WIP: Closing of books                                                                 203             0.33      70.95
                                                   Phone call with Ricky, obtain Earthworks case settlement documents
                                                   settlement documents, address emails sent by Mariaelena, speak with
                                                   Mark about Earthworks


          9/2/2021            Juan Mederos         WIP: Prep / Corp income tax retur                                                     303             3.16     679.40
                                                   Initial preparation of 2020 Form 1065


          9/3/2021            Juan Mederos         WIP: Prep / Corp income tax retur                                                     303             0.25      53.75
                                                   Update tax return to correct ownership percentages


          9/9/2021            Juan Mederos         WIP: Prep / Corp income tax retur                                                     303             0.75     161.25
                                                   Clearing revew notes on Midtown Campus, attempt to call Tara at
                                                   Asset Management to discuss Midtown Apartments
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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                               Midtown Campus Properties, LLC
Client Ledger                                                                                                                  Client 8517.0
Primary Partner - Client Code
For the Period: 8/1/2021 - 9/15/2021



                                                                                                                                  Billing
        Posting Date        Employee                                                   Description                                Code               Hours      Amount


          9/9/2021            Juan Mederos          WIP: Closing of books                                                                203             1.00     215.00
                                                    Phone call with Ruth of management company, discuss accounting for
                                                    Midtown Apartments


         9/10/2021            Juan Mederos          WIP: Closing of books                                                                203             3.33     715.95
                                                    Input Midtown Apartments trial balance, record adjustments for tax
                                                    return, import and update tax return with Midtown Apartments activity


         9/13/2021            Juan Mederos          WIP: Prep / Corp income tax retur                                                    303             0.17      36.55
                                                    Prepare and email draft to Oscar


         9/13/2021            Juan Mederos          WIP: Prep / Corp income tax retur                                                    303             0.33      70.95
                                                    Discuss tax return revision with Ralph


         9/14/2021            Juan Mederos          WIP: Prep / Corp income tax retur                                                    303             0.50     107.50
                                                    Prepare power of attorney and returns for signature


         9/15/2021            Juan Mederos          WIP: Prep / Corp income tax retur                                                    303             0.17      36.55
                                                    Prepare and archive tax copies, email to Oscar


         9/15/2021            Juan Mederos          WIP: Prep / Corp income tax retur                                                    303             0.22      47.50
                                                    Prepare and document power of attorneys, archive into binder


                                                    Subtotals - Juan Mederos                                                                            25.42   5,465.35


         8/10/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                      250             0.15      10.50
                                                    Preparation of July 2021 billing


                                                    Subtotals - Odalys Diaz                                                                              0.15      10.50


                                                    Totals - All                                                                                        34.82   7,085.85
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    55900
Date           09/30/2021
Client No.     8517

For Professional Services Rendered Through September 30, 2021

Current



Update of internal accounting including:

-   Adjustment of December 31, 2020 trial balance to agree with
    final adjusted trial balance

    Preparation and organization of documents needed for monthly
    Debtor in Possession operating report for the month of August 2021.




                                                                              Current Amount Due           $    2,491.75

                                                                                        Prior Balance          39,654.15

                                                                                 Total Amount Due          $   42,145.90


              0 - 30           31- 60                61 - 90               91 - 120            Over 120         Balance
           9,577.60              0.00              1,899.00                1,684.00            28,985.30       42,145.90
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit your
questions in writing within 30 days. Otherwise, this statement is final.

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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                Midtown Campus Properties, LLC
Client Ledger                                                                                                                   Client 8517.0
Primary Partner - Client Code
For the Period: 9/15/2021 - 9/30/2021



                                                                                                                                   Billing
        Posting Date        Employee                                                   Description                                 Code               Hours      Amount


         9/20/2021          Rafael Espinosa         WIP: Partner Time                                                                        10           1.00     385.00
                                                    Review August 2021 MOR report, discuss with Juan Mederos


                                                    Subtotals - Rafael Espinosa                                                                           1.00     385.00


         9/17/2021            Juan Mederos          WIP: Consulting services                                                              500             8.00   1,720.00
                                                    Visit client, review internal Quickbooks accounting, reconcile
                                                    bank accounts, enter American Express charges related to
                                                    Midtown, upload docments needed for monthly MOR report for
                                                    bankruptcy filing for August 2021, update 12/31/2020 year end
                                                    adjustments.


         9/20/2021            Juan Mederos          WIP: Consulting services                                                              500             0.50     107.50
                                                    Research and provision of information related to voided check
                                                    activity for the month of August 2021.


         9/20/2021            Juan Mederos          WIP: Consulting services                                                              500             0.25      53.75
                                                    Discussion with Ralph Espinosa regarding August 2021 MOR


         9/22/2021            Juan Mederos          WIP: Manager / Supervisor Billing                                                     250             1.00     215.00
                                                    Preparation of documents supporty monthly invoice billings
                                                    in accordances with fee application requirements for the month
                                                    of September 2021


                                                    Subtotals - Juan Mederos                                                                              9.75   2,096.25


         9/23/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                       250             0.15      10.50
                                                    Preparation of July 2021 billing


                                                    Subtotals - Odalys Diaz                                                                               0.15      10.50


                                                    Totals - All                                                                                         10.90   2,491.75
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    56689
Date           10/31/2021
Client No.     8517

For Professional Services Rendered Through October 31, 2021

Current


Onsite visit on October 19, 2021 to assist with update of internal accounting,
including:

−   Preparation of September 2021 bank reconciliations

−   Preparation and organization of documents needed for monthly
    Debtor in Possession operating report




                                                                              Current Amount Due           $    2,226.05

                                                                                        Prior Balance          42,145.90

                                                                                 Total Amount Due          $   44,371.95


              0 - 30           31- 60                61 - 90               91 - 120            Over 120         Balance
           2,226.05          2,491.75              7,085.85                1,899.00            30,669.30       44,371.95
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit your
questions in writing within 30 days. Otherwise, this statement is final.

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                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                 Midtown Campus Properties, LLC
Client Ledger                                                                                                                    Client 8517.0
Primary Partner - Client Code
For the Period: 10/1/2021 - 10/31/2021



                                                                                                                                    Billing
        Posting Date        Employee                                                  Description                                   Code               Hours      Amount


        10/21/2021         Rafael Espinosa          WIP: Partner Time                                                                         10           0.83     319.55
                                                    Review September MOR report information


                                                    Subtotals - Rafael Espinosa                                                                            0.83     319.55


        10/19/2021           Juan Mederos           WIP: Consulting services                                                               500             7.75   1,666.25
                                                    Visit client, obtain and reconcile U.S. Bank activity, enter remaining
                                                    credit card activity paid by Roger International, review and update
                                                    internal accounting, prepare information needed for September 2021


        10/22/2021           Juan Mederos           WIP: Manager / Supervisor Billing                                                      250             1.00     215.00
                                                    Preparation of documents supporty monthly invoice billings
                                                    in accordances with fee application requirements for the month
                                                    of September 2021


                                                    Subtotals - Juan Mederos                                                                               8.75   1,881.25


        10/12/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                        250             0.36      25.25
                                                    Preparation of September 2021 billing


                                                    Subtotals - Odalys Diaz                                                                                0.36      25.25


                                                    Totals - All                                                                                           9.94   2,226.05
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Midtown Campus Properties, LLC
782 NW 42nd Ave
Suite 550
Miami, FL 33126

Invoice No.    56792
Date           11/17/2021
Client No.     8517

For Professional Services Rendered Through November 17, 2021

Current




Conference call on November 4, 2021 to discuss sales contract agreement and
tax effect.                                                                                                $    1,200.00

Onsite visit on November 10, 2021 to assist with update of internal accounting,
including:

  - Preparation of October 2021 bank reconciliation

  - Preparation and organization of documents needed for monthly
    Debtor in Possession operating report.                                                                      2,085.60

                                                                              Current Amount Due           $    3,285.60

                                                                                        Prior Balance          44,371.95

                                                                                 Total Amount Due          $   47,657.55


              0 - 30           31- 60                61 - 90               91 - 120            Over 120         Balance
           5,511.65          2,491.75              7,085.85                1,899.00            30,669.30       47,657.55
Payment is due upon receipt. In the event you have a problem with this statement, you have the right to submit your
questions in writing within 30 days. Otherwise, this statement is final.

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                                        2600 Douglas Road, Suite 800 Coral Gables, FL 33134
                                    PHONE 305 529 5440 / FAX 305 529 5441 / www.gemrtcpa.com
                                                     Case 20-15173-RAM                      Doc 561           Filed 11/29/21   Page 65 of 68
                                              Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                                 Midtown Campus Properties, LLC
Client Ledger                                                                                                                    Client 8517.0
Primary Partner - Client Code
For the Period: 11/1/2021 - 11/17/2021



                                                                                                                                    Billing
        Posting Date        Employee                                                  Description                                   Code               Hours      Amount


         11/4/2021         Rafael Espinosa          WIP: Partner Time                                                                         10           1.00     385.00
                                                    Review of sales contract agreement, discuss tax with Juan


         11/5/2021         Rafael Espinosa          WIP: Partner Time                                                                         10           1.00     385.00
                                                    Conference call to discuss sale price breakdown of property


        11/12/2021         Rafael Espinosa          WIP: Partner Time                                                                         10           0.75     288.75
                                                    Review October MOR report information


                                                    Subtotals - Rafael Espinosa                                                                            2.75   1,058.75


         11/4/2021           Juan Mederos           WIP: Consulting services                                                               500             1.00     215.00
                                                    Review of potential sales figues and agreements, phone calls
                                                    with Paul Battista, meet with Ralph, perform tax research


         11/5/2021           Juan Mederos           WIP: Telephone call with client                                                        212             1.00     215.00
                                                    Participate in conference all to discuss proposed allocation of sale
                                                    price breakdown of Midtown Campus property


        11/10/2021           Juan Mederos           WIP: Consulting services                                                               500             6.58   1,414.70
                                                    Visit client, prepare bank reconciliations for all bank accounts,
                                                    review and revise internal accounting, input pending credit card
                                                    transactions, provide consultation on accounting for related parties,
                                                    prepare reports needed for monthly MOR preparation


        11/15/2021           Juan Mederos           WIP: Consulting services                                                               500             0.17      36.55
                                                    Research voided checks from 9/2021


        11/17/2021           Juan Mederos           WIP: Manager / Supervisor Billing                                                      250             1.50     322.50
                                                    Preparation of documents supporty monthly invoice billings
                                                    in accordances with fee application requirements for the months
                                                    of October 2021 and November 2021


                                                    Subtotals - Juan Mederos                                                                              10.25   2,203.75


        11/17/2021              Odalys Diaz         WIP: Manager/Supervisor Billing                                                        250             0.33      23.10
                                                    Preparation of October and November 2021 billing
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                                         Garcia, Espinosa, Miyares, Rodriguez, Trueba & Co.                      Midtown Campus Properties, LLC
Client Ledger                                                                                                    Client 8517.0
Primary Partner - Client Code
For the Period: 11/1/2021 - 11/17/2021



                                                                                                                    Billing
        Posting Date        Employee                                         Description                            Code               Hours      Amount


                                               Subtotals - Odalys Diaz                                                                     0.33      23.10


                                               Totals - All                                                                               13.33   3,285.60
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                     EXHIBIT “4”

         FEE APPLICATION SUMMARY CHART




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REQUEST                                                      APPROVAL                                        PAID                   HOLDBACK

                 Period                      Expenses        Date Order                       Expenses                   Expenses                 Expenses
Date Filed ECF # Covered   Fees Requested    Requested       Entered    ECF # Fees Approved   Approved       Fees Paid   Paid       Fees Holdback Holdback
                 5/8/20‐
  1/14/2021 304 12/31/20   $    24,989.25     $          ‐    2/12/2021    328 $    19,991.40 $          ‐                                        $      ‐
